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PROB 35 Report and Order Ternlinating Probation/
(Rev. 4/31) Supervised Release Prior to Original Expiration Date

 

United States District Court
For The

District of New Jersey

UNITED STATES OF AMERICA
v. Crim. No. 03-00461-001

Atul Kothari

On June 13, 2006, the above named Was placed on probation for a period of 3 years. The
probationer has complied with the rules and regulations of probation and is no longer in need of
probation supervision lt is accordingly recommended that the probationer be discharged from

probation.

Respectfully submitted,

      

United Sta robation Oflicer
Anthony J. Nisi

ORDER OF THE COURT

Pursuant to the above report, it is ordered that the probationer be discharged from probation

and that the proceedings in the case be terminated

Dated this f ; day of M@}/ , 20 If .

    

n1 ed States District Judge

 

 

 

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UNITED STATES DISTRICT COURT

PROBATION OFFICE
DISTRICT OF NEW JERSEY
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MATTHEW F. MILLER www.njp.uscourts.gov
THOMAS C. MILLER

Honorable William H. Walls

Martin Luther King Jr. Federal Building & U.S. Courthouse
P_O. Box 0999

Newark, New Jersey 07102-0999

RE: KOTHARl, Atul
Dkt. No. 03 -00461-001

Reguest For Early Termination of
Supervision

Dear Judge Walls:

On June 13, 2006, Atul Kothari was sentenced by Your Honor to 3 years probation for the offense of
Prohibition of a Unlicensed Money 'l`ransmitting Business. The offender was ordered to pay a total special
assessment of $100 along with a $2,000 fine. Kothari was also ordered to refrain from incurring any new
debt, unless in compliance with his financial obligation Kothari is currently being supervised by the Eastern
District of New York. His term of supervision is scheduled to end on June 12, 2009. At this time, the U.S.
Probation Off`ice for the Eastern District of New York is recommending that the offender be considered for
an early termination of supervision

Since the commencement of supervision Kothari has remained compliant with the conditions of his
supervision The offender has satisfied his financial obligation and is gainfully employed as a manager for
his wife’s gift shop in Queens, New York. Based on a recent criminal history inquiry, Kothari has remained
free from further criminal activity. Furthermore, the offender maintains a stable residence with his wife in
Sunnyside, New York.

Taking into consideration the offender’s satisfactory adjustment to supervision and in accordance with Title
18 U.S.C. § 3564(c), and our current Monograph 109, we ask that Your Honor review and sign the enclosed
Probation Form 35 indicating the Court’s decision regarding early termination ofprobation. We will remain
available should the Court wish to discuss this matter.

Respectfully submitted,

C}[RlSTOPI-IER MALONEY, Chief
U.S. Probation Officer

 

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U.S. Probation Officer

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cc: Eli Richardson, AUSA
Warren L. Feldman, Esq. (Retained)

 

 

